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       7                                     UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF CALIFORNIA
       8

       9    In re:                                            )     Case No.: 19-12351-B-13F
                                                              )
       10   Erica Alejandra Gomez                             )     DC NO. MHM-5
                                                              )
       11                           Debtor                    )     CHAPTER 13
                                                              )
       12                                                     )     NOTICE OF HEARING ON MOTION TO
                                                              )     DISGORGE FEES PAID AND OBJECTION TO
       13                                                     )     ATTORNEY FEE COMPENSATION
                                                              )
       14                                                     )     DATE: March 18, 2020
                                                              )     TIME: 9:30 AM
       15                                                     )     PLACE: U.S. Courthouse
                                                              )            Dept. B, Courtroom 13, 5th Floor
       16                                                     )            2500 Tulare Street
                                                              )            Fresno, Ca 93721
       17                                                     )
                                                              )
       18
                                                              )     JUDGE: Hon. Rene Lastreto II
       19
                                                              )

       20            TO THE AND DEBTOR THE COURT AND OTHER INTERESTED PERSONS:
       21            PLEASE TAKE NOTICE that the hearing on Motion to Disgorge Fees Paid and Objection to
       22   Attorney Fee Compensation will come on for hearing on March 18, 2020, at 9:30 AM, before the
       23   Honorable Rene Lastreto II of the United States Bankruptcy Court, located at Dept B, Courtroom 13,
       24   5th Floor, 2500 Tulare Street, Fresno, Ca 93721, at which time the Court will consider the pleadings and
       25   papers of the Motion.
       26            Your rights may be affected. You should read these papers carefully and discuss them
       27   with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you
       28   may wish to consult one.)



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       1           Pursuant to Local Bankruptcy Rule 9014-1(f)(2), no written response to the motion is
       2    necessary. Any opposition to the motion shall be heard at the hearing.
       3           Respondents may determine whether the matter has been resolved without oral argument or
       4    whether the court has issued a tentative ruling, and may view pre-hearing dispositions by checking the
       5    Court’s website at www.caeb.uscourts.gov after 4:00 P.M. the day before the hearing, and that parties
       6    appearing telephonically must view the pre-hearing dispositions prior to the hearing.
       7
            DATE: 3-4-20
       8
                                                 /S/ MICHAEL H. MEYER
       9                                         MICHAEL H. MEYER, Chapter 13 Trustee

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